          Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 1 of 7




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                       IN THE UNITED STATES DISTRICT COURT FOR

                        THE DISTRICT OF UTAH, CENTRAL DIVISION


    J.L., C.L., and A.L.,                            ANTHEM BLUE CROSS’S REPLY IN
                                                     SUPPORT OF ITS MOTION FOR
                            Plaintiffs,              JUDGMENT ON THE PLEADINGS
    v.                                               AND FOR PARTIAL SUMMARY
                                                     JUDGMENT ON PLAINTIFFS’
    ANTHEM BLUE CROSS and NORTHRUP                   SECOND CAUSE OF ACTION
    GRUMMAN HEALTH PLAN,
                                                     Case No. 2:18-cv-671
                            Defendants.
                                                     Judge Dee Benson
                                                     Magistrate Judge Dustin B. Pead




          Defendant Anthem Blue Cross (“Anthem”) files this reply memorandum in further

support of its Motion for Judgment on the Pleadings and for Partial Summary Judgment on

Plaintiffs’ Second Cause of Action, filed on March 8, 2019 (the “Motion”),1 and to address

Plaintiffs’ arguments in its Combined Reply Memorandum and Opposition to Anthem Blue

Cross’ Motion for Judgment on the Pleadings (the “Combined Memo”).



1
  In its memorandum filed March 8, 2019 (the Motion), Anthem also opposed Plaintiffs’ Motion for
Leave to File Amended Complaint. For the reasons stated in the Motion, amendment would be futile.
Anthem does not rehash those arguments here, as the reply memorandum is limited to Anthem’s motion
for judgment on the pleadings and for partial summary judgment.
                                                 1
         Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 2 of 7




                                         INTRODUCTION

         The only paragraphs in the operative Complaint that allege any wrongdoing by Anthem

are paragraphs 53 and 54:

             53. Comparable benefits offered by the Plan for medical/surgical treatment
         analogous to the benefits the Plan excluded for [A.L.’s] treatment at Sunrise
         included sub-acute inpatient treatment settings such as skilled nursing facilities,
         inpatient hospice care, and rehabilitation facilities. For none of these types of
         treatment does Anthem exclude coverage for medically necessary care of
         medical/surgical conditions based on geographic location, facility type, provider
         specialty, or other criteria in the manner Anthem excluded coverage of treatment
         for [A.L.].

             54. In addition, the Defendants violate 29 C.F.R. §2590.712(c)(4)(i) because
         the terms of the Plan and the criteria utilized by the Plan and Anthem, as written or
         in operation, use processes strategies, standards, or other factors to limit coverage
         for mental health or substance use disorder treatment in a way that is inconsistent
         with, and more stringently applied, than the processes, strategies, standards or other
         factors used to limit coverage for medical/surgical treatment in the same
         classification.
Anthem’s arguments are straightforward: Anthem will address why Plaintiffs’ Mental Health

Parity Act or MHPAEA claim should be dismissed, pursuant to Rule 12(c) and 56 of the Federal

Rules of Civil Procedure.

                                            ARGUMENT

I.       RESIDENTIAL TREATMENT CENTERS ARE NOT EXCLUDED.
         It is true that, as Plaintiffs put it, “[m]ultiple ways exist to allege a valid MHPAEA

claim.”2 But the problem is that Plaintiffs have attempted to throw everything in the kitchen sink

by being purposely vague. Further, the only specific allegation supporting a MHPAEA violation

is not true.

         Paragraph 53 of the Complaint alleges that for inpatient treatment settings for

medical/surgical conditions, such as skilled nursing facilities, Anthem does not “exclude

coverage” in the manner that Anthem excludes coverage for A.L.’s treatment at a residential

treatment center – based on “geographic location, facility type, provider specialty, or other

2
    Combined Memo, p. 19.
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1560954.1
          Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 3 of 7




criteria.” Paragraph 53 assumes that residential treatment centers fall under the types of

treatment that are excluded benefits under the Plan, when they are not. There is no categorical

exclusion for residential treatment centers and again, 40 days of A.L.’s stay at Sunrise was paid.

          In their memorandum Plaintiffs argue that Anthem “misreads” Plaintiffs’ claim and that

when Plaintiffs allege that Anthem “excluded coverage,” what they really mean is that

“Anthem’s application of criteria . . . was overly restrictive” and “resulted in the improper failure

to provide coverage for [A.L.’s] residential treatment.”3 In other words, Plaintiffs argue for a

broad reading of “exclude coverage.” Plaintiffs argue that “Anthem evaluated residential

treatment restrictively relating to the length of stay generally accepted by the mental health

community.”4

          Plaintiffs’ argument is problematic. First, the plain language of paragraph 53 and the use

of the word “exclude,” in the context of insurance, refers to a service or treatment that is

ineligible or not covered. Plaintiffs realize the difficulty here as they are seeking leave to amend

to, among other things, rephrase paragraph 53 so it says “exclude or restrict coverage.”

          Next, whatever Plaintiffs believe is the “generally accepted” belief as to what a proper

length of stay is for a residential treatment center, this is really beside the point: The question is

what the Plan or contractual agreement is between the group and its members.
          Finally, even giving “exclude” a broad reading to include restricting coverage, generally

speaking, there is no support for Plaintiffs’ conclusory statement that any limitation was based

on Sunrise’s geographic location, facility type, provider specialty, or other criteria – in the

Complaint or Plaintiffs’ Combined Memo.




3
    Combined Memo, p. 9; see id., pp. 8-9.
4
    Id., p. 9.
                                                   3
1560954.1
           Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 4 of 7




II.        ADMISSION AT A SKILLED NURSING FACILITY MUST BE MEDICALLY
           NECESSARY.
           If Anthem always approved claims at a skilled nursing facility, irrespective of the

patient’s condition, or, alternatively, approved claims regardless of the number of days requested

– when compared to rigorously applying medical necessity criteria for residential treatment

centers – then it seems as though Plaintiffs would have a colorable claim for violation of

MHPAEA. But that is not the case here. The Skilled Nursing Facility Services criteria,

identified as Guideline #: CG-MED-31H,5 applicable to the group health plan at issue,6 has a

laundry list of requirements that must be met in order to qualify for benefits. On its face, the

Skilled Nursing Facility Services criteria is restrictive and certainly shows that there must be a

real and demonstrable condition that requires 24-hour care, just like a residential treatment

center.7

           Plaintiffs state in their Combined Memo that there are “questions that exist about

Anthem’s medical necessity evaluations for medical and surgical conditions.”8 The real question

is – what are those questions? They have not been pleaded. Plaintiffs hope to get past the

pleading stage so that they can conduct a fishing expedition pertaining to all criteria applied by

defendants.

III.       PLAINTIFFS HAVE NOT SUFFICIENTLY IDENTIFIED THE “PROCESSES,
           STRATEGIES, STANDARDS, OR OTHER FACTORS” THAT ANTHEM
           ALLEGEDLY USES TO LIMIT COVERAGE FOR RESIDENTIAL
           TREATMENT CENTERS AND WHY THOSE PROCESSES, ETC., ARE MORE
           STRINGENT THAN THE PROCESSES, ETC., FOR SKILLED NURSING
           FACILITIES.
           The Court should grant Anthem judgment on the pleadings with respect to paragraph 54,

which is more or less a recitation of 29 C.F.R. § 2590.712(c)(4)(i). Plaintiffs allege that there is

a MHPAEA violation because the “criteria utilized by the Plan and Anthem, as written or in


5
  This criteria is attached to the Declaration of David Naimark, M.D. (“Naimark Decl.”) as Ex. G.
6
  Naimark Decl., ¶ 8.
7
  See Naimark Decl., Ex. G.
8
  Combined Memo, p. 6.
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1560954.1
        Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 5 of 7




operation, use processes, strategies, standards, or other factors to limit coverage for mental health

or substance use disorder treatment in a way that is inconsistent with, and more stringently

applied, than the processes, strategies, standards or other factors used to limit coverage for

medical/surgical treatment in the same classification.”

        Again, what is it exactly that Anthem did to violate MHPAEA? Plaintiffs’ allegation

here is vague, conclusory, and Plaintiffs fail to state a claim under MHPAEA. On pages 7-8 of

the Combined Memo, Plaintiffs argue, in essence, that a residential treatment center should place

less emphasis on safety monitoring than an acute facility such as inpatient hospitalization.

However, when compared to a skilled nursing facility, which requires that “[t]here must be a

significant probability that complications would arise without skilled supervision of the

treatment plan by a licensed nurse,” 9 it appears that both residential treatment centers and skilled

nursing facilities, intermediate or long-term care centers, focus on safety. They both require that

without the treatment, there will be either medical “complications” or a manifestation of

behaviors that “risk serious harm.”10

        Without more substance to Plaintiffs’ claim, Plaintiffs should not be able to conduct

discovery on these unsupported and vague allegations of a suspected-but-not-known violation of

MHPAEA. The potential discovery that Plaintiffs seek is expansive. For example, Plaintiffs say
that there could be a violation, not just by the language of the criteria, but “through unprincipled

application of the Plan terms . . . .”11 Not focusing on any specific Plan term, apparently there

could be a disparate application of these terms. And the discovery that would take to narrow in

on an alleged disparate application of medical necessity criteria (even if properly pleaded) could

be a massive undertaking.12


9
  Naimark Decl., p. 2 (subsection E.2.) (emphasis added).
10
   See Naimark Decl., Ex. F, p. 2.
11
   Naimark Decl., p. 11.
12
   If Anthem’s motion is denied, Anthem of course reserves the right to make objections in discovery
regarding relevance, proportionality and any other objections it may have.
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1560954.1
        Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 6 of 7




                                        CONCLUSION

        For all of the foregoing reasons, the Court should grant judgment in favor of Anthem on

Plaintiffs’ MHPAEA claim.

        DATED this 26th day of April, 2019.

                                             JONES WALDO HOLBROOK & McDONOUGH

                                             /s/ Jessica P. Wilde
                                             Timothy C. Houpt
                                             Jessica P. Wilde
                                             Attorneys for Defendant Anthem Blue Cross




                                                6
1560954.1
        Case 2:18-cv-00671-DB-DBP Document 41 Filed 04/26/19 Page 7 of 7




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 26th day of April, 2019, I electronically filed the

foregoing which caused a copy to be sent to:

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